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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:publicservicecompanyofcoloradovoutdoordesignlandscaping,llcno23sc659july1,2024"&gt;&lt;p class="ldml-metadata"&gt;
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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Public Service Company of Colorado&lt;/span&gt;&lt;/span&gt;, d/b/a &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Xcel Energy&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;/&lt;span class="ldml-role"&gt;Cross-Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Outdoor Design Landscaping, LLC&lt;/span&gt;, and &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;/&lt;span class="ldml-role"&gt;Cross-Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; Francisco Cuevas. Respondent &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 23SC659&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;July 1, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="255" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="255" data-sentence-id="272" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_272"&gt;&lt;span class="ldml-cite"&gt;Case Nos. 22CA301&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &amp; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_272"&gt;&lt;span class="ldml-cite"&gt;22CA1108&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="324" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="324" data-sentence-id="340" class="ldml-sentence"&gt;Petition
 and &lt;span class="ldml-entity"&gt;Cross-Petition for Writ&lt;/span&gt; of Certiorari GRANTED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="406" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="406" data-sentence-id="422" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[REFRAMED]&lt;/span&gt;
 Whether &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred in holding that a
 provision in a utility's tariff purporting to limit the
 utility's liability only applies to customers of the
 utility.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="628" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="628" data-sentence-id="644" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[REFRAMED]&lt;/span&gt;
 Whether &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred in holding that the
 General Assembly had not expressly delegated authority to the
 &lt;span class="ldml-entity"&gt;Public Utilities Commission&lt;/span&gt; to approve a tariff limiting tort
 liability in derogation of common law.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="897" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="897" data-sentence-id="913" class="ldml-sentence"&gt;Whether
 &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred in holding that &lt;span class="ldml-entity"&gt;Respondent&lt;/span&gt; was not
 a &lt;span class="ldml-quotation quote"&gt;"person"&lt;/span&gt; subject to the notification requirements
 of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;High Voltage Safety Act&lt;/span&gt;, &lt;span class="ldml-cite"&gt;§ 9-2.5-102&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1116" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1116" data-sentence-id="1132" class="ldml-sentence"&gt;Whether
 &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred in interpreting &lt;span class="ldml-entity"&gt;section&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;9-2.5-104&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; such that it renders the words
 &lt;span class="ldml-quotation quote"&gt;"results in,"&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"caused by the contact"&lt;/span&gt; and
 &lt;span class="ldml-quotation quote"&gt;"due to the contact"&lt;/span&gt; superfluous.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1344" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1344" data-sentence-id="1360" class="ldml-sentence"&gt;DENIED
 AS TO ALL OTHER ISSUES.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;